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10
11                              UNITED STATES DISTRICT COURT
12          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

13
     AUSTIN MILLIKEN,
14
15                        Plaintiff,
                                                     Case No. 3:23-cv-3709-AMO
16          v.
                                                     NOTICE OF APPEARANCE OF
17   BANK OF AMERICA N.A.,                           DANIELLE MORRIS AS COUNSEL FOR
                                                     DEFENDANT BANK OF AMERICA, N.A.
18
                          Defendant.
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                                                                         NOTICE OF APPEARANCE
                                                                               3:23-CV-3709-AMO
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 1   TO THE CLERK OF THE COURT, PLAINTIFF, AND HIS ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that attorney Danielle Morris of O’Melveny & Myers LLP

 3   hereby files this Notice of Appearance in the above-referenced action as counsel of record for

 4   Defendant Bank of America, N.A., and requests that copies of all briefs, motions, orders,

 5   correspondence, and other papers be electronically served on the undersigned at:

 6          Danielle Morris

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13
14
15   Dated: August 17, 2023                        By:     /s/ Danielle Morris
                                                            DANIELLE MORRIS
16
                                                            WILLIAM K. PAO
17
18                                                  Attorneys for Defendant Bank of America,
                                                    N.A.
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                                                                              NOTICE OF APPEARANCE
                                                   -1-                              3:23-CV-3709-AMO
